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                                     WARNER & SCHEUERMAN
                                         Attorneys at Law
                                   6 West 18th Street, 10th Floor
                                    New York, New York 10011
                                       Tel: (212) 924-7111
                                       Fax: (212) 924-6111
  Jonathon D. Warner, Esq.
  jdwarner@wslaw.nyc

  Karl E. Scheuerman, Esq.
  kescheuerman@wslaw.nyc                                       November 11, 2022

  VIA ECF

  Pamela K. Chen, U.S.D.J.
  United States District Court, Eastern District of New York
  225 Cadman Plaza East, Courtroom 4F North
  Brooklyn, New York 11201-1804

  Re:    IME Watchdog, Inc. v. Gelardi, et al.
         Case No.: 1:22-cv-1032 (PKC)(JRC)

  Dear Judge Chen:

          We represent defendants Safa Gelardi and IME Companions LLC and write in reply to the
  four-page letter submitted by plaintiff in opposition to our request for permission to move to
  dismiss plaintiff’s defamation claim.

          We write because plaintiff’s letter violates your Honor’s three-page limit rule and should
  be rejected and because plaintiff’s law of the case argument ignores that Magistrate Judge Cho’s
  minute order of 10/12/22 did not analyze the merits of plaintiff’s defamation claim under New
  York and, more importantly, expressly recognized defendants’ right to move in response to the
  first amended complaint. Magistrate Judge Cho’s 10/12/2022 docket entry states: “By 11/4/2022,
  defendants shall answer, move or otherwise respond to the first amended complaint.” (Emphasis
  added). We will not address plaintiff’s “law of the case” argument any further since we do not
  believe that your Honor’s Rules permit a reply. But it is clear from the plain language of
  Magistrate Judge Cho’s minute order that his decision to permit the amendment was not intended
  to preclude any motion in response to plaintiff’s first amended complaint.

                                                               Respectfully yours,


                                                               /s/ Jonathon D. Warner

  JDW/ks
  cc:   All counsel (via ECF)
